            Case 2:09-cr-00084-MJP          Document 30        Filed 03/30/09     Page 1 of 2




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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7 UNITED STATES OF AMERICA,                           )
                                                       )
 8                            Plaintiff,               )    Case No. CR09-0084-MJP-6
                                                       )
 9         v.                                          )
                                                       )    DETENTION ORDER
10 DAVID SOBOL ,                                       )
                                                       )
11                            Defendant.               )
                                                       )
12
     Offense charged:
13
           Conspiracy to Commit Bank, Mail, and Wire Fraud.
14         Bank Fraud.
           Mail Fraud.
15         Wire Fraud.
           False Statement on Loan Application.
16         Monetary Transactions using Criminally Derived Property.
           Forfeiture Allegations.
17
      Date of Detention Hearing: March 30, 2009.
18
           The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and
19
      based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20
      that no condition or combination of conditions which the defendant can meet will reasonably
21
      assure the appearance of the defendant as required and the safety of any other person and the
22
      community.
23



     DETENTION ORDER -1
            Case 2:09-cr-00084-MJP          Document 30        Filed 03/30/09      Page 2 of 2




 1         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         Defendant is charged with crimes spanning at least three years and involving millions of

 3    dollars. The government proffered that he and his co-defendant, Alla Sobol, have transferred

 4    large sums of money recently. Where the money is and the exact amount is unknown. The

 5    government presented exhibits showing the defendant and his wife have assets totaling close to 2

 6    million dollars not including real estate. The defendant did not disclose much of these assets to

 7    U.S. Pretrial Services. If convicted, the defendant faces a lengthy prison sentence.

 8         It is therefore ORDERED:

 9         (1)     Defendant shall be detained pending trial and committed to the custody of the

10    Attorney General for confinement in a correctional facility separate, to the extent practicable,

11    from persons awaiting or serving sentences, or being held in custody pending appeal;

12         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

13    counsel;

14         (3)     On order of a court of the United States or on request of an attorney for the

15    Government, the person in charge of the correctional facility in which Defendant is confined shall

16    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

17    with a court proceeding; and

18         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

19    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

20         DATED this 30th day of March, 2009.

21

22                                                        A
                                                          BRIAN A. TSUCHIDA
23                                                        United States Magistrate Judge




     DETENTION ORDER -2
